              Case 23-00247-JMM                   Doc 1      Filed 05/12/23 Entered 05/12/23 15:50:49                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF IDAHO

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Merlin Systems, Inc

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                                                                                  Attn: Ed Levine
                                  9464 W. Fairview Avenue                                         42479 SE Buzz Road
                                  Boise, ID 83704                                                 Estacada, OR 97023
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Ada                                                             Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.merlin-systems.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Merlin Systems, Inc                                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
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Debtor    Merlin Systems, Inc                                                                             Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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         Name

                               $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Merlin Systems, Inc                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 11, 2023
                                                  MM / DD / YYYY


                             X   /s/ Ed Levine                                                            Ed Levine
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ D. Blair Clark                                                        Date May 11, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 D. Blair Clark 1367
                                 Printed name

                                 Law Office of D. Blair Clark, PC
                                 Firm name

                                 967 E. Parkcenter Blvd., #282
                                 Boise, ID 83706
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (208) 475-2050                Email address      dbc@dbclarklaw.com

                                 1367 ID
                                 Bar number and State




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 5
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Fill in this information to identify the case:

Debtor name         Merlin Systems, Inc

United States Bankruptcy Court for the:     DISTRICT OF IDAHO

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       May 11, 2023                    X /s/ Ed Levine
                                                           Signature of individual signing on behalf of debtor

                                                            Ed Levine
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Merlin Systems, Inc

 United States Bankruptcy Court for the:                       DISTRICT OF IDAHO

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                469.44

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $                469.44


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           126,375.93


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             126,375.93




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name         Merlin Systems, Inc

United States Bankruptcy Court for the:     DISTRICT OF IDAHO

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest
2.        Cash on hand                                                                                                                                  $10.00



3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     US Bank (currently overdrawn)                     Checking account                      5689                                             $0.00




          3.2.     KeyBank                                           Checking account                      6644                                         $87.67




          3.3.     PayPal                                            Business account                                                                   $21.77



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                        $119.44
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.



Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
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             Name

Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.


Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description               Date of the last         Net book value of         Valuation method used   Current value of
                                            physical inventory       debtor's interest         for current value       debtor's interest
                                                                     (Where available)

19.       Raw materials
          See attached lists of
          products/items used for
          customer orders.                                                    Unknown                                             Unknown



20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                          $0.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                             Valuation method                          Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                    page 2
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              Name


      Yes Fill in the information below.

           General description                                            Net book value of          Valuation method used   Current value of
                                                                          debtor's interest          for current value       debtor's interest
                                                                          (Where available)

39.        Office furniture
           Office furniture including:
           desks
           chairs                                                                          $0.00                                          $100.00



40.        Office fixtures

41.        Office equipment, including all computer equipment and
           communication systems equipment and software
           Office equipment including:
           phone sysem
           computers
           printer                                                                         $0.00                                          $250.00



42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

43.        Total of Part 7.                                                                                                               $350.00
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed in Part 7?
              No
              Yes

45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
              No
              Yes

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                            Net book value of          Valuation method used   Current value of
                                                                          debtor's interest          for current value       debtor's interest
                                                                          (Where available)

60.        Patents, copyrights, trademarks, and trade secrets
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 3
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Debtor        Merlin Systems, Inc                                                          Case number (If known)
              Name



61.        Internet domain names and websites
           Domain:
           www.merlin-systems.com                                                        $0.00                                              $0.00



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                            $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                          Current value of
                                                                                                                          debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

           Potential future tax refunds                                                      Tax year                                       $0.00



73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 4
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            Name


78.      Total of Part 11.                                                                                           $0.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                      page 5
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Debtor          Merlin Systems, Inc                                                                                 Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                 $119.44

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                               $350.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                                   $469.44        + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                     $469.44




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 6
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BARE PANEL = 8008 CR CARD                       $2.62    $0.00       1 PER ARRAY             PRICE PER PANEL - 1 PER ARRAY
BARE PANEL = 8012A - DW3000 FEB                 $3.67    $0.00      15 PER ARRAY             PRICE PER PANEL - 15 PER ARRAY
BARE PANEL = 8012B - DW3000 MAIN               $14.47    $0.00       2 PER ARRAY             PRICE PER PANEL - 2 PER ARRAY
BARE PANEL = 8015 TINY TX                       $1.77    $0.00      36 PER ARRAY             PRICE PER PANEL - 36 PER ARRAY
BARE PANEL = 8016 FLAT ANTENNA                 $22.91    $0.00       1 PER ARRAY             PRICE PER PANEL - 1 PER ARRAY
BARE PANEL = 8018 VK100 RELAY                   $5.67    $0.00      15 PER ARRAY             PRICE PER PANEL - 15 PER ARRAY
BARE PANEL = 8020 VK100 CONTROLLER             $11.46    $0.00       4 PER ARRAY             PRICE PER PANEL - 4 PER ARRAY
BARE PANEL = 8022 DW3000 WIRED BAT BOARD        $1.44    $0.00      30 PER ARRAY             PRICE PER PANEL - 30 PER ARRAY
BARE PANEL = 8023 DW3000 BAT BOARD              $1.37    $0.00      30 PER ARRAY             PRICE PER PANEL - 30 PER ARRAY
BARE PANEL = 8025 RCM                           $1.47    $0.00      30 PER ARRAY             PRICE PER PANEL - 30 PER ARRAY
BARE PANEL = 8026 CELL PHONE ADAPTER            $2.00    $0.00                                     PRICE PER PANEL -
BARE PANEL = 8027 LYNX                         $11.00    $0.00       4 PER ARRAY             PRICE PER PANEL - 4 PER ARRAY
BARE PANEL = 8028 WASP                         $10.88    $0.00      12 PER ARRAY             PRICE PER PANEL - 12 PER ARRAY
BARE PANEL = 8029 EXP CC                       $37.19    $0.00       2 PER ARRAY             PRICE PER PANEL - 2 PER ARRAY
BARE PANEL = 8030 NBFM CARRIER                  $0.00    $0.00                                     PRICE PER PANEL -
BARE PANEL = 8031 LYNX WIRED BAT BOARD          $2.75    $0.00      14 PER ARRAY             PRICE PER PANEL - 14 PER ARRAY
BARE PANEL = 8032 LYNX BAT BOARD                $2.75    $0.00      14 PER ARRAY             PRICE PER PANEL - 14 PER ARRAY
BARE PANEL = 8033 CC BAT ADAPTER                $2.75    $0.00      10 PER ARRAY             PRICE PER PANEL - 10 PER ARRAY
BARE PANEL = 8034 WASP LARGE BAT BOARD          $4.17    $0.00      12 PER ARRAY             PRICE PER PANEL - 12 PER ARRAY
BARE PANEL = 8035 HORNET                       $10.88    $0.00      12 PER ARRAY             PRICE PER PANEL - 12 PER ARRAY
BARE PANEL = 8036 HP-HORNET                    $10.88    $0.00      12 PER ARRAY             PRICE PER PANEL - 12 PER ARRAY
BARE PANEL = 8037 WASP REINFORCEMENT PCB        $3.81    $0.00      21 PER ARRAY             PRICE PER PANEL - 21 PER ARRAY
BARE PANEL = 8038 WASP MEDIUM BAT BOARD         $8.75    $0.00      16 PER ARRAY             PRICE PER PANEL - 16 PER ARRAY
BARE PANEL = 8039 WASP SMALL BAT BOARD          $5.00    $0.00      28 PER ARRAY             PRICE PER PANEL - 28 PER ARRAY
BARE PANEL = 8040 SMART CHARGER                 $2.17    $0.00 3 PER ARRAY (OSH PARK)   PRICE PER PANEL - 3 PER ARRAY (OSH PARK)
BARE PANEL = 9116 FMV                           $2.34    $0.00     112 PER ARRAY            PRICE PER PANEL - 112 PER ARRAY
BARE PANEL = 9183 DMV                           $0.49    $0.00     112 PER ARRAY            PRICE PER PANEL - 112 PER ARRAY
BARE PANEL = 9190 TX TESTER                     $3.13    $0.00       8 PER ARRAY             PRICE PER PANEL - 8 PER ARRAY
BARE PANEL = 9195-B2--KIMCO                     $1.37    $0.00     160 PER ARRAY            PRICE PER PANEL - 160 PER ARRAY
BARE PANEL = 9228 NANO                          $1.68    $0.00      36 PER ARRAY             PRICE PER PANEL - 36 PER ARRAY
BARE PANEL = 9229 MX-SYN SOLAR                  $2.15    $0.00      20 PER ARRAY             PRICE PER PANEL - 20 PER ARRAY
BARE PANEL = MICRO USB BREAKOUT                 $0.21    $0.00       1 PER ARRAY             PRICE PER PANEL - 1 PER ARRAY



    ARRAYS ON HAND
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          16 BIT MCU SMD              MSP430F2122       $3.36       INTEG CIRC = 16 BIT MCU SMD
     FSK RF RECEIVER SMD             SX1211I084TRT      $4.15       INTEG CIRC = FSK RF RECEIVER SMD
            RF TXRX SMD             ADF7021-NBCPZ       $6.12       INTEG CIRC = RF TXRX SMD
VOLTAGE REGULATOR SMD 3.3V     LT1761ES5-3.3#TRMPBF      $2.42      INTEG CIRC = VOLTAGE REGULATOR SMD 3.3V
BUCK BOOST REGULATOR SMD         LTC3115EDHD-1#PBF      $12.95      INTEG CIRC = BUCK BOOST REGULATOR SMD
  RF AUDIO PROCESSOR SMD               CMX885Q3         $6.60       INTEG CIRC = RF AUDIO PROCESSOR SMD
         LINEAR AMP SMD            LTC6078IDD#PBF       $4.13       INTEG CIRC = LINEAR AMP SMD
    CLOCK GENERATOR SMD               ADF4111BCPZ       $6.36       INTEG CIRC = CLOCK GENERATOR SMD
        ATTENUATOR SMD                DAT-31R5-SP+      $6.60       INTEG CIRC = ATTENUATOR SMD
    DOWNCONVERTOR SMD               IAM-91563-BLKG      $3.85       INTEG CIRC = DOWNCONVERTOR SMD
 VOLTAGE REGULATOR SMD 5V       LT1761ES5-5#TRMPBF      $2.42       INTEG CIRC = VOLTAGE REGULATOR SMD 5V
     DTA CONVERTOR SMD       LTC2632ACTS8-LI12#TRMPBF   $7.98       INTEG CIRC = DTA CONVERTOR SMD
     16 BIT MCU SMD QFN32        MSP430F2132TRHBT       $4.08       INTEG CIRC = 16 BIT MCU SMD QFN32
      AMPLIFIER 4 PIN SMD              PSA4-5043+       $2.58       INTEG CIRC = AMPLIFIER 4 PIN SMD
     16 BIT EXPANDER SMD            MCP23S17-E/ML       $1.51       INTEG CIRC = 16 BIT EXPANDER SMD
      SERIAL EEPROM SMD            AT25128B-SSHL-T      $0.58       INTEG CIRC = SERIAL EEPROM SMD
     AUDIO AMPLIFIER SMD             CS35L00-CNZR       $0.84       INTEG CIRC = AUDIO AMPLIFIER SMD
      DIGITAL FILTER SMD             QF1D512-QN-T         ???       INTEG CIRC = DIGITAL FILTER SMD
             CODEC SMD          TLV320AIC3254IRHBR      $7.44       INTEG CIRC = CODEC SMD
   MICRO MIXED SIGNAL SMD         MSP430F5529IPNR       $7.33       INTEG CIRC = MICRO MIXED SIGNAL SMD
   PUSHBUTTON ON-OFF SMD           LTC2952CUF#PBF       $7.14       INTEG CIRC = PUSHBUTTON ON-OFF SMD
        DUAL OPAMP SMD              LT6203CDD#PBF       $6.63       INTEG CIRC = DUAL OPAMP SMD
     REGULATOR 3.3V SMD            REG102NA-3.3/250     $2.90       INTEG CIRC = REGULATOR 3.3V SMD
       QUAD DRIVER SMD            74LVC125APW,118        $0.45      INTEG CIRC = QUAD DRIVER SMD
    BUCK BOOST 500MA SMD          LTC3534EDHC#PBF       $7.62       INTEG CIRC = BUCK BOOST 500MA SMD
      OPTOCOUPLER SMD               ACSL-6410-00TE      $8.03       INTEG CIRC = OPTOCOUPLER SMD
   SINGLE BUFFER GATE SMD          74LVC1G125SE-7       $0.27       INTEG CIRC = SINGLE BUFFER GATE SMD
     REAL TIME CLOCK SMD                DS3234S#        $8.78       INTEG CIRC = REAL TIME CLOCK SMD
     ESD PROTECTION SMD              TPD2E001DRLR       $0.58       INTEG CIRC = ESD PROTECTION SMD
          RECEIVER SMD                 AD607ARSZ        $8.95       INTEG CIRC = RECEIVER SMD
    DATA ACQUISITION SMD           AD9838BCPZ-RL7       $6.22       INTEG CIRC = DATA ACQUISITION SMD
       LIGHT SENSOR SMD              APDS-9303-020      $2.07       INTEG CIRC = LIGHT SENSOR SMD
     ACCELEROMETER SMD                 KXTE9-1050       $2.06       INTEG CIRC = ACCELEROMETER SMD
              TXRX SMD               SI1010-C-GM2R      $4.98       INTEG CIRC = TXRX SMD
          INVERTER SMD               NC7SZU04P5X        $0.36       INTEG CIRC = INVERTER SMD
            TXRX FM SMD               Si4432-B1-FM      $7.92       INTEG CIRC = TXRX FM SMD
          32 BIT MCU SMD          ATSAM4LC8CA-AUR       $7.64       INTEG CIRC = 32 BIT MCU SMD
     REGULATOR 1.2V SMD           LT3080EDD#TRPBF       $4.83       INTEG CIRC = REGULATOR 1.2V SMD
          INVERTOR SMD                74HC1G14GW        $0.30       INTEG CIRC = INVERTOR SMD
  RF BLUETOOTH SWITCH SMD             CG2409M2-C4       $1.43       INTEG CIRC = RF BLUETOOTH SWITCH SMD
           8 BIT MCU SMD        ATXMEGA128A4U-MHR       $4.34       INTEG CIRC = 8 BIT MCU SMD
            PIC MCU SMD             PIC10F200T-I/OT     $0.45       INTEG CIRC = PIC MCU SMD
          RF TX ASK SMD              MAX7044AKA+T       $4.03       INTEG CIRC = RF TX ASK SMD
      POWER SUPPLY SMD               BQ25570RGRT        $7.94       INTEG CIRC = POWER SUPPLY SMD
      PIC 8 BIT FLASH SMD            PIC12F509-I/MC     $0.73       INTEG CIRC = PIC 8 BIT FLASH SMD


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P/N = MSP430F2122                                INTEG CIR 433 MX         10     0.79      7.9
P/N = SX1211I084TRT                                INTEG CIR 7020                1.67       0
P/N = ADF7021-NBCPZ                                INTEG CIR 8891         1925   0.59    1135.75    8005/RF BEACON
P/N = LT1761ES5-3.3#TRMPBF                     INTEG CIR VARIOUS           350    0.79    276.5
P/N = LTC3115EDHD-1#PBF                           INTEG CIR LT176                2.14       0
P/N = CMX885Q3                           INTEG CIR LTC 3409/OP BEA               11.43      0       8005/RF BEACON
P/N = LTC6078IDD#PBF                          INTEG CIR MAX 1674                 5.06       0
P/N = ADF4111BCPZ                                  INTEG CIR MCU          600    0.96      576      7001, NBFM, VK
P/N = DAT-31R5-SP+                                INTEG CIR MSOP          20     2.31     46.2
P/N = IAM-91563-BLKG                               INTEG CIR SOIJ                0.96       0
P/N = LT1761ES5-5#TRMPBF                    INTEG CIR TESTER1540                 2.24       0
P/N = LTC2632ACTS8-LI12#TRMPBF     INTEG CIR TRT-CT - VOLTAGE REGULATOR           2.04      0
P/N = MSP430F2132TRHBT                           INTEG CIR TX FSK                5.22       0
P/N = PSA4-5043+                                INTEG CIR TXRX 80                4.53       0
P/N = MCP23S17-E/ML                             INTEG CIRC 216 MX                0.79       0
P/N = AT25128B-SSHL-T                             INTEG CIRC 7001         160    0.79     126.4
P/N = CS35L00-CNZR                                  INTEG CIRC LP         200    2.24      448
P/N = QF1D512-QN-T                            INTEG CIRC QFID512          1100    0.79     869     DW 3000 QK FILTER
P/N = TLV320AIC3254IRHBR                       INTEG CIRC TSOT23           150    1.09    163.5
P/N = MSP430F5529IPNR                           INTEG CIRC SC70-5          85     1.32    112.2
P/N = LTC2952CUF#PBF
P/N = LT6203CDD#PBF
P/N = REG102NA-3.3/250
P/N = 74LVC125APW,118
P/N = LTC3534EDHC#PBF
P/N = ACSL-6410-00TE
P/N = 74LVC1G125SE-7
P/N = DS3234S#
P/N = TPD2E001DRLR
P/N = AD607ARSZ
P/N = AD9838BCPZ-RL7
P/N = APDS-9303-020
P/N = KXTE9-1050
P/N = SI1010-C-GM2R
P/N = NC7SZU04P5X
P/N = Si4432-B1-FM
P/N = ATSAM4LC8CA-AUR
P/N = LT3080EDD#TRPBF
P/N = 74HC1G14GW
P/N = CG2409M2-C4
P/N = ATXMEGA128A4U-MHR
P/N = PIC10F200T-I/OT
P/N = MAX7044AKA+T
P/N = BQ25570RGRT
P/N = PIC12F509-I/MC


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   CAP CERAMIC .015UF04      CAP CERAMIC = .015UF_0402            INDUCTOR 140NH 0402       INDUCTOR = 100NH_0402          RES 0 OHM 0201
   CAP CERAMIC .015UF06      CAP CERAMIC = .033UF_0402            INDUCTOR 1.5UH 0805       INDUCTOR = 100NH_0805          RES 0 OHM 0402
   CAP CERAMIC .01UF 04      CAP CERAMIC = 0.001UF_0402           INDUCTOR 1.8NH 0402       INDUCTOR = 100NH_2PCT_0402     RES 0 OHM 0603
   CAP CERAMIC .01UF 06      CAP CERAMIC = 0.01UF_0402            INDUCTOR 100NH 0402       INDUCTOR = 10NH_2PCT_0402      RES 0 OHM 0805
   CAP CERAMIC .1UF 04       CAP CERAMIC = 0.01UF_0603            INDUCTOR 100NH 08         INDUCTOR = 1200NH_1206         RES 1.0K OHM
   CAP CERAMIC .1UF 06       CAP CERAMIC = 0.022UF_0402           INDUCTOR 10NH 0402        INDUCTOR = 120NH_0402          RES 1.1K OHM 0402
   CAP CERAMIC .27UF         CAP CERAMIC = 0.039UF_0402           INDUCTOR 110NH (0402)     INDUCTOR = 120NH_0805          RES 1.2K OHM 0402
   CAP CERAMIC .5 PF 04      CAP CERAMIC = 0.056UF_0402           INDUCTOR 110NH 0805       INDUCTOR = 12NH_2PCT_1206      RES 1.5M 0402
   CAP CERAMIC 1 UF 04       CAP CERAMIC = 0.056UF_0603           INDUCTOR 120NH 08         INDUCTOR = 13NH_0402           RES 100 OHM 0603
   CAP CERAMIC 1.5PF 04      CAP CERAMIC = 0.1UF_0402             INDUCTOR 123.5NH          INDUCTOR = 13NH_2PCT_0402      RES 1.4K OHM 0402
   CAP CERAMIC 1.8PF 04      CAP CERAMIC = 0.1UF_0402_50V         INDUCTOR 12NH 0402        INDUCTOR = 150NH_0805          RES 100K OHM 0402
   CAP CERAMIC 10000PF4      CAP CERAMIC = 0.1UF_0603             INDUCTOR 12NH             INDUCTOR = 150NH_2PCT_0402     RES 100K OHM 0603
   CAP CERAMIC 10000PF6      CAP CERAMIC = 0.22UF_0402            INDUCTOR 12.5NH           INDUCTOR = 15NH_2PCT_0402      RES 1.8K OHM 0402
   CAP CERAMIC 1000PF04      CAP CERAMIC = 0.27UF_0402            INDUCTOR 13NH 0402        INDUCTOR = 180NH_0805          RES 13K OHM 0402
   CAP CERAMIC 1000PF06      CAP CERAMIC = 0.39UF_0402            INDUCTOR 150NH 08         INDUCTOR = 180NH_2PCT_0402     RES 10M OHM 0402
   CAP CERAMIC 1000PF08      CAP CERAMIC = 0.47UF_0402            INDUCTOR 15NH 0402        INDUCTOR = 18NH_0603           RES 15K OHM 0402
   CAP CERAMIC 1000PF12      CAP CERAMIC = 1.0PF_0402             INDUCTOR 16NH 0402        INDUCTOR = 220NH_0603          RES 11K OHM 0603
   CAP CERAMIC 100PF 04      CAP CERAMIC = 1.0UF_0402             INDUCTOR 16.6NH 0908      INDUCTOR = 220NH_0805          RES 120K OHM 0603
   CAP TANT 10UF 1206        CAP CERAMIC = 1.0UF_0402_TANT        INDUCTOR 180NH 0805       INDUCTOR = 220NH_2PCT_0805     RES 130 OHM 0402
   CAP CERAMIC 10PF 04       CAP CERAMIC = 1.0UF_0603             INDUCTOR 1812 SMS         INDUCTOR = 22NH_0402           RES 15 OHM 0603
   CAP CERAMIC 10PF 06       CAP CERAMIC = 1.2PF_0402             INDUCTOR 18NH             INDUCTOR = 22NH_0603           RES 154K OHM 0603
   CAP CERAMIC 10UF 040      CAP CERAMIC = 1.5PF_0402             INDUCTOR 1UH 1008         INDUCTOR = 22NH_2PCT_0402      RES 15M OHM 0603
   CAP CERAMIC 10UF 06       CAP CERAMIC = 1.8PF_0402             INDUCTOR 1UH 1206         INDUCTOR = 270NH_0805          RES 15M OHM 0805
   CAP CERAMIC 120PF 04      CAP CERAMIC = 1000PF_0402            INDUCTOR 2.2UH            INDUCTOR = 27NH_0805           RES 16.9K 0402
   CAP CERAMIC 121 0805      CAP CERAMIC = 1000PF_0603            INDUCTOR 2.5NH            INDUCTOR = 3.9NH_0805          RES 150 OHM 0402
   CAP CERAMIC 13PF 04       CAP CERAMIC = 100PF_0402             INDUCTOR 2.5UH            INDUCTOR = 330NH_0402          RES 174 OHM 0402
   CAP CERAMIC 1500PF04      CAP CERAMIC = 100PF_0603             INDUCTOR 2.7NH 0402       INDUCTOR = 33NH_0402           RES 180K OHM 0603
   CAP CERAMIC 15PF 04       CAP CERAMIC = 10PF_0402              INDUCTOR 22NH SPRING      INDUCTOR = 33NH_2PCT_0402      RES 1K OHM 0402
   CAP CERAMIC 15PF 06       CAP CERAMIC = 10UF_0402              INDUCTOR 22 NH            INDUCTOR = 390NH_0402          RES 1MEG OHM 0402
   CAP CERAMIC 1PF 04        CAP CERAMIC = 10UF_0603              INDUCTOR 22NH 1812        INDUCTOR = 39NH_0402           RES 2.4K OHM 0402
   CAP CERAMIC 1PF 06        CAP CERAMIC = 10UF_0805              INDUCTOR 220NH            INDUCTOR = 39NH_1812           RES 20 OHM
   CAP CERAMIC 2.2PF 04      CAP CERAMIC = 10UF_1206_TANT         INDUCTOR 220NH 0603       INDUCTOR = 4.3NH_0402          RES 280 OHM 0805
   CAP CERAMIC 2.2PF 06      CAP CERAMIC = 120PF_0402             INDUCTOR 220NH 0805       INDUCTOR = 470_100MHZ_0603     RES 200 OHM 0603
   CAP CERAMIC 2.7PF 04      CAP CERAMIC = 12PF_0603              INDUCTOR 220NH Q TOKO     INDUCTOR = 470NH_0402          RES 20M OHM 0603
   CAP CERAMIC 2200PF04      CAP CERAMIC = 13PF_0402_HQ           INDUCTOR 22UH             INDUCTOR = 470NH_0603          RES 20M OHM 0805
   CAP CERAMIC 220PF 04      CAP CERAMIC = 1500PF_0402            INDUCTOR 27NH 0402        INDUCTOR = 470NH_0805          RES 220K OHM 0402
   CAP CERAMIC 270PF 04      CAP CERAMIC = 15PF_0402              INDUCTOR 27NH 0603        INDUCTOR = 470NH_1206          RES 220K OHM 0603
   CAP CERAMIC 22UF 04       CAP CERAMIC = 16PF_0402              INDUCTOR 27NH 0805        INDUCTOR = 47NH_0603           RES 2K OHM 0402
   CAP CERAMIC 22PF 04       CAP CERAMIC = 16PF_0402_HQ           INDUCTOR 27.3NH SQ 0908   INDUCTOR = 47NH_0805           RES 24 OHM 0402
   CAP CERAMIC 27 PF 06      CAP CERAMIC = 1800PF_0402            INDUCTOR 29NH 0302        INDUCTOR = 47NH_2PCT_0402      RES 240 OHM 0603
   CAP CERAMIC 3.6PF 04      CAP CERAMIC = 180PF_0402             INDUCTOR 3.3NH 0402       INDUCTOR = 5.1NH_2PCT_0402     RES 24K OHM 0402
   CAP CERAMIC 3.3PF 04      CAP CERAMIC = 18PF_0402              INDUCTOR 30NH 0402        INDUCTOR = 51NH_0402           RES 27K OHM 0603
   CAP CERAMIC 3.9PF 04      CAP CERAMIC = 1UF_0603_TANT          INDUCTOR 33NH 0805        INDUCTOR = 56NH_0603           RES 28 OHM 0402
   CAP CERAMIC 33000PF       CAP CERAMIC = 2.2PF_0402             INDUCTOR 33NH 1812        INDUCTOR = 56NH_0805           RES 2M OHM 0402
   CAP CERAMIC 3300PF        CAP CERAMIC = 2.2PF_0603             INDUCTOR 36NH 0402        INDUCTOR = 56NH_2PCT_0402      RES 3 OHM 0402
   CAP CERAMIC 3300PF 4      CAP CERAMIC = 2.2UF_0402             INDUCTOR 39NH 0402        INDUCTOR = 56NH_2PCT_0805      RES 3.6K OHM 0402
   CAP CERAMIC 33PF 04       CAP CERAMIC = 2.2UF_0402_10V         INDUCTOR 3.9NH 0402       INDUCTOR = 6.2NH_2PCT_0402     RES 3.3M OHM 0402
   CAP CERAMIC 33PF 06       CAP CERAMIC = 2.4PF_0402             INDUCTOR 4.3 NH 0402      INDUCTOR = 6.8NH_0603          RES 3.3M OHM 0603
   CAP CERAMIC 39PF 04       CAP CERAMIC = 200PF_0402             INDUCTOR 4.3NH 0805       INDUCTOR = 68NH_0603           RES 30 OHM 0402
   CAP CERAMIC 39PF 06       CAP CERAMIC = 20PF_0402              INDUCTOR 47NH 0402        INDUCTOR = 68NH_0805           RES 300 OHM 0402
   CAP CERAMIC 3PF 04        CAP CERAMIC = 2200PF_0402            INDUCTOR 47NH 0603        INDUCTOR = 68NH_2PCT_0402      RES 3.16K OHM 0402
   CAP CERAMIC 4.7PF 04      CAP CERAMIC = 220PF_0402             INDUCTOR 47NH 0805        INDUCTOR = 78NH_0805           RES 30K OHM 0402
   CAP CERAMIC 4.7UF 08      CAP CERAMIC = 22PF_0402              INDUCTOR 47NH 1812        INDUCTOR = 78NH_2PCT_0805      RES 33K OHM 0402
   CAP CERAMIC 47PF 06       CAP CERAMIC = 22UF_0603              INDUCTOR 51NH 0402        INDUCTOR = 8.2NH_0603          RES 39 OHM 0603
   CAP CERAMIC 47UF 08       CAP CERAMIC = 22UF_0805              INDUCTOR 56NH 0402        INDUCTOR = 82NH_0805           RES 3.9 OHM 0402
   CAP CERAMIC 5.1PF 04      CAP CERAMIC = 22UF_1206              INDUCTOR 56NH 0805        INDUCTOR = 82NH_2PCT_0402      RES 390 OHM 0402
   CAP CERAMIC 5.6PF 06      CAP CERAMIC = 27PF_0402              INDUCTOR 560NH 0603       INDUCTOR = 1.5UH_0805          RES 390K OHM 0402
   CAP CERAMIC 560PF 4       CAP CERAMIC = 3.0PF_0402             INDUCTOR 6.2NH 0402       INDUCTOR = 10UH_1008           RES 4.3K OHM 0402
   CAP CERAMIC 56PF 04       CAP CERAMIC = 3.6PF_0402             INDUCTOR 6.8NH 0402       INDUCTOR = 10UH_DO3314         RES 47 OHM
   CAP CERAMIC 56PF 06       CAP CERAMIC = 3000PF_0603            INDUCTOR 68NH 0402        INDUCTOR = 12UH_2020           RES 4.99K 0402


DISCRETE SUPPLIES ON HAND
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CAP CERAMIC 5PF 06            CAP CERAMIC = 330PF_0402             INDUCTOR 68NH 0603     INDUCTOR = 22.0UH_744031220     RES 3M OHM 0402
CAP CERAMIC 6.8PF 0402        CAP CERAMIC = 33PF_0402              INDUCTOR 68NH 0805                                     RES 470 OHM 0402
CAP CERAMIC 6800PF04          CAP CERAMIC = 3900PF_0402            INDUCTOR 68NH 1812                                     RES 470 OHM 0603
CAP CERAMIC 7PF 04            CAP CERAMIC = 39PF_0402              INDUCTOR 680NH 0805                                    RES 470K OHM 0402
CAP CERAMIC 7PF 06            CAP CERAMIC = 3PF_0402               INDUCTOR 8.2NH 0402                                    RES 470K OHM 0603
CAP CERAMIC 75PF 04           CAP CERAMIC = 4.3PF_0402             INDUCTOR 8.2NH 0603                                    RES 470K OHM 0805
CAP CERAMIC 8.0PF 04          CAP CERAMIC = 4.7PF_0402             INDUCTOR 8.2NH 0805                                    RES 47K OHM 0402
CAP CERAMIC 8.2PF 04          CAP CERAMIC = 4.7UF_0402             INDUCTOR 8.7NH 0402                                    RES 47K OHM 0603
CAP CERAMIC 8.2PF 06          CAP CERAMIC = 4.7UF_0402_6.3V        INDUCTOR 82NH 1008                                     RES 49.9 OHM 0402
CAP CERAMIC.022UF 04          CAP CERAMIC = 470PF_0402             INDUCTOR 82NH 0402                                     RES 5.1K OHM
CAP CERAMIC.022UF 06          CAP CERAMIC = 470PF_0603             INDUCTOR 82NH 0603                                     RES 510 OHM 0402
CAP CERAMIC.033UF 04          CAP CERAMIC = 47PF_0402              INDUCTOR 820NH 0603                                    RES 499 OHM 0402
CAP CERAMIC .015UF04          CAP CERAMIC = 47UF_0603_TANT         INDUCTOR 330NH 0402                                    RES 560 OHM 0402
CAP CERAMIC .015UF06          CAP CERAMIC = 47UF_0805              INDUCTOR 72 NH 0603                                    RES 56K OHM
CAP CERAMIC .01UF 04          CAP CERAMIC = 47UF_1206_25V          INDUCTOR 3.6 NH 0603                                   RES 715K OHM
CAP CERAMIC .01UF 06          CAP CERAMIC = 5.0PF_0402             INDUCTOR 78NH 0805                                     RES 732K OHM 0402
CAP CERAMIC 101 0805          CAP CERAMIC = 5.1PF_0402             INDUCTOR78NH 1206                                      RES 62K OHM 0402
CAP CERAMIC 330PF 0402        CAP CERAMIC = 5.6PF_0402             INDUCTOR 390 NH 0402                                   RES 680 OHM 0402
CAP CERAMIC 680 PF 0402       CAP CERAMIC = 51PF_0402              INDUCTOR 390 NH 0805                                   RES 680K OHM 0603
CAP CERAMIC 680 PF 00805      CAP CERAMIC = 560PF_0402             INDUCTOR 470NH 0402                                    RES 8.2K OHM 0402
CAP CERAMIC 820 PF0402        CAP CERAMIC = 56PF_0402              INDUCTOR 470NH 0603                                    RES 8.2K OHM 0603
CAP CERAMIC 4700 0402         CAP CERAMIC = 6.8PF_0402             INDUCTOR 470 NH 0805                                   RES 820K OHM 0603
CAP CERAMIC 1500 0805         CAP CERAMIC = 6800PF_0402            INDUCTOR 470 NH 1206                                   RES 82K OHM 0805
CAP CERAMIC 2700 0402         CAP CERAMIC = 680PF_0402             INDUCTOR 100NH 0402                                    RES 82K OHM 0603
CAP CERAMIC 6800 06           CAP CERAMIC = 68PF_0402              INDUCTOR 100NH 0603                                    RES 910 OHM 0402
CAP CERAMIC 8200 0402         CAP CERAMIC = 7.5PF_0402             INDUCTOR 100NH 0805                                    RES POT 1K OHM
CAP CERAMIC .01 0201          CAP CERAMIC = 7.6PF_0402             INDUCTOR 105 NH 0805                                   RES POT 500 OHM
CAP CERAMIC .039 UF 04        CAP CERAMIC = 8.2PF_0402             INDUCTOR 120NH 0402                                    RES VARIOUS/SMALL QTY
CAP CERAMIC .1 0201           CAP CERAMIC = 8.2PF_0402_HQ          INDUCTOR 120NH 0603
CAP CERAMIC .22 0402          CAP CERAMIC = 8200PF_0402            INDUCTOR 120NH 1812
CAP CERAMIC .39 0402          CAP CERAMIC = 91PF_0402              INDUCTOR 150NH 1206
CAP CERAMIC 47 1206           CAP CERAMIC = 9PF_0402_HQ            INDUCTOR 180NH 0402
CAP CERAMIC 1.2 0402          CAP CERAMIC = TRIM_3-10PF_25V        INDUCTOR 180NH 0603
CAP CERAMIC 1.5 0201                                               INDUCTOR 1000NH 0603
CAP CERAMIC 22 0201                                                INDUCTOR 1000NH 1206
CAP CERAMIC 270 0402                                               INDUCTOR 1200NH 1206
CAP CERAMIC 2.7 0201                                               INDUCTOR 1200NH 0603
CAP CERAMIC 3.3 0201                                               INDUCTOR 1500NH 0603
CAP CERAMIC 3.3 0603                                               INDUCTOR 5.1NH 0402
CAP CERAMIC 4.7 0603                                               INDUCTOR 360NH 0603
CAP CERAMIC 5PF 0402                                               INDUCTOR 4.7UH 7030
CAP CERAMIC 6.8PF 0402                                             INDUCTOR .20UH 0805
CAP CERAMIC8 0603                                                  INDUCTOR 33UH 0603
CAP CERAMIC 12 0603                                                INDUCTOR 82NH 0805
CAP CERAMIC 16 0402                                                INDUCTOR TDK 120NH
CAP CERAMIC 20 0402                                                INDUCTOR TOKO
CAP CERAMIC 30 0402
CAP CERAMIC 47 0402
CAP CERAMIC 68 0402
CAP CERAMIC 100 0603
CAP CERAMIC150 0402
CAP CERAMIC 180 0402
CAP CERAMIC 1800 0402
CAP CERAMIC 220 01005
CAP TANT 10UF 0603
CAP TANT 1UF 0603
CAP TANT 33 UF 0603
CAP TANT 47UF 0603
CAP TRIMMER 5K OHM POT
CAP TRIMMER .65-2.5PF
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RESISTOR = 0_0402
RESISTOR = 0_0603
RESISTOR = 0_0805
RESISTOR = 1.0K_0402
RESISTOR = 1.1K_0402
RESISTOR = 1.24M_1PCT_0402
RESISTOR = 1.3K_1PCT_0402
RESISTOR = 1.4K_1PCT_0402
RESISTOR = 1.5M_0402
RESISTOR = 1.6K_0402
RESISTOR = 1.8K_0402
RESISTOR = 100K_0402
RESISTOR = 100K_0603
RESISTOR = 100R_0402
RESISTOR = 10K_0402
RESISTOR = 10M_0402
RESISTOR = 10R_0402
RESISTOR = 110K_0603
RESISTOR = 120K_0603
RESISTOR = 12K_0402
RESISTOR = 130R_0402
RESISTOR = 150K_0603
RESISTOR = 150R_0402
RESISTOR = 15K_0402
RESISTOR = 15M_0402
RESISTOR = 15R_0603
RESISTOR = 16.9K_0402
RESISTOR = 162K_1PCT_0402
RESISTOR = 174R_1PCT_0402
RESISTOR = 180K_0603
RESISTOR = 18K_0402
RESISTOR = 18R_0402
RESISTOR = 1M_0402
RESISTOR = 2.0K_0402
RESISTOR = 2.2K_0402
RESISTOR = 2.5M_1PCT_0603
RESISTOR = 2.67K_1PCT_0402
RESISTOR = 200K_0402
RESISTOR = 200R_0402
RESISTOR = 20M_0805
RESISTOR = 220K_0603
RESISTOR = 24K_0402
RESISTOR = 24R_0402
RESISTOR = 270R_0402
RESISTOR = 28R_1PCT_0402
RESISTOR = 294K_1PCT_0402
RESISTOR = 3.0R_0402
RESISTOR = 3.3M_0402
RESISTOR = 3.3M_1PCT_0402
RESISTOR = 3.6K_0402
RESISTOR = 3.9R_0402
RESISTOR = 300R_0402
RESISTOR = 30M_0402
RESISTOR = 30R_0402
RESISTOR = 330K_1PCT_0402
RESISTOR = 33K_0402
RESISTOR = 390K_0402
RESISTOR = 390K_1PCT_0402
RESISTOR = 39R_0402
RESISTOR = 4.75M_1PCT_0402
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RESISTOR = 4.7K_0402
RESISTOR = 4.99K OHM
RESISTOR = 4.99K_1PCT_0402
RESISTOR = 4.99M_1PCT_0402
RESISTOR = 43K_0402
RESISTOR = 470_100MHZ_0603
RESISTOR = 470K_0402
RESISTOR = 47K_0402
RESISTOR = 49.9K_1PCT_0402
RESISTOR = 49.9R_0402
RESISTOR = 49.9R_1PCT_0402
RESISTOR = 5.1K_0402
RESISTOR = 5.62M_1PCT_0402
RESISTOR = 5.6K_0402
RESISTOR = 51R_0402
RESISTOR = 5K_POT
RESISTOR = 5K_POT_5-TURN
RESISTOR = 6.2K_0402
RESISTOR = 6.65K_1PCT_0402
RESISTOR = 6.65M_1PCT_0402
RESISTOR = 6.8K_0402
RESISTOR = 620R_1PCT_0402
RESISTOR = 62K_0402
RESISTOR = 7.32M_1PCT_0402
RESISTOR = 7.32M_1PCT_0603
RESISTOR = 7.5K_0402
RESISTOR = 732K_1PCT_0402
RESISTOR = 8.2K OHM
RESISTOR = 8.2K_0402
RESISTOR = 8.2M_0402
RESISTOR = 8.66K_1PCT_0402
RESISTOR = 820K_1PCT_0402
RESISTOR = 82K_0603
RESISTOR = 845K_1PCT_0402
RESISTOR = 953K_1PCT_0402
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HIGHER PRICED INVENTORY ITEMS                               MERLIN SYSTEMS,
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                                                         ELECTRONIC TEST EQUP ETC.
                                ITEM                        MODEL                                       PRICES
 1   Aero Flex Communications Service Monitor             IFR 2945B   eBay 3/24/23 - used $4000; $10000; $11000.
                                                                      Alltest Instruments - used: $7495.00

 2   IFR Spectrum Analyzer                                2399B       eBay 3/24/23 - used: $1800
     9 KHz to 3 GHz

 3   HP Infinium Oscilloscope                             HP 54825A   eBay 3/25/23 - used: $350; $300
     500 MHz to 2 GHz 4CH

 4   HP RF Impedance Test Adapter                         HP 43961A   eBay 3/26/23 - used: $2100; $2600; $2500; $3800; $3900; $4400

 5   Agilent Network/Spectrum Impedance Analyzer          4396B       eBay 3/26/23 - used: $7300; $8900; $9900; $10500; $10500
     100 Khz - 1.8 GHz/2Hz - 1.8 GHz/100Khz

 6   Agilent Digital Multimeter                           24405A      eBay 3/26/23 - used: $690; $730

 7   HP Power Supply System                               HP 6033     eBay 3/26/23 - used: $200; $300

 8   GwInstek GDS                                         840C        eBay 3/26/23 - used: $800; $950

 9   HP Noise Figure Meter                                HP 8970B    eBay 3/26/23 - $1800; $1000; $950; Test Equipment $1500;

 10 SRS Stanford Research Systems                         FS 725      eBay 3/26/23 - used: $3100; $6500
    Rabidium Frequency Standard

 11 Agilent 33521 A                                       33521A      eBay 3/26/23 used: $2000; $1,500; $1700; Accusource used: $1600
    1 Ch 30 MHz Function/Arbitrary Waveform Generator

 12 Agilent 6 1/2 Digital Multimeter                      34401A      Test Equipment 3/26/23 used: $775 eBAy used: $400; All Test used: $750

 13 Marconi Instruments Signal Generator                  2024        eBay 3/26/23 used: $2000 Value Tronics used: $1800; AccuSource used: $1500
    9 KHz - 2.4 GHz                                                   Calright Institute used; $3000
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HIGHER PRICED INVENTORY ITEMS                                   MERLIN SYSTEMS,
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                                                             ELECTRONIC TEST EQUP ETC.
 14 Circuit Specialists DC Regulated Power Supply             CSI 3003X III Radwell.com 3/26/23 used: $250 eBay used moderate cond; $125

 15 ETS Lindgren ESCO Tech - RF Test chamber                  Model T/T   eBay 3/26/23 used fair cond; $750; SPW Industries used fair; $880

 16 Test Equity Controlled Temperature Chamber                Model 115   Test Equity New: $15795.00; eBay 3/26/23 used like ours $12000; ;
                                                                          eBay used model 1007C which is a less espensive version $8000

 17 Farnell Flat Respsonse Test Antenna

 18 Isles Solder Benches Anti-Static (5)                      Various     New starting at $2000 and up. We have four at office and one in storage

 19 Farnell Spectrum Analyzer                                 SSA 1000A   User Equip 4/5/23 used: $4896

 20 Global Industries Fireproof locking cabinets (2)                      American Surplus One Cabinet at 45 gal used $885 4/5/23

 21 Smithy Lathe-Mll-Drill                                                eBay 4/5/23 used but different brand? Looks very similar; $2500 - $3000
                                                                          eCrater looks exactly like it used; $2700
 22 EFOS ULTRACURE 100SS PLUS UV CURE LIGHT (2)
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                            ITEM ID                          INVENTORY   COST     TOTAL
       ACCELEROMETER                                              7       $2.95        $20.65
       ADAPTER - BNC TO SMA F/F                                           $7.13         $0.00
       ADAPTER - BNC TO SMA M/M                                  4        $7.13        $28.52
       ADAPTER - SMA-BNC F/F                                     2        $5.40        $10.80
       ADAPTER - SMA-BNC F/M                                              $5.40         $0.00
       ADAPTER - SMA-BNC M/F                                     3        $4.04        $12.12
       ADAPTER - SMA-BNC M/M                                              $4.04         $0.00
       ANTENNA - ALL FALCONRY                                   32        $6.50      $208.00
       ANTENNA JACK BRASS                                       150       $1.75       $262.50
       ANTENNA PLUG GOLD                                         89       $2.70       $240.30
       BARE PANEL = 8040 SMART CHARGER                           3        $6.51        $19.53
       BARE PANEL = 9229 MX-SYN SOLAR                            1       $60.48        $60.48
       BATTERY #377                                              2       $43.00        $86.00
       BATTERY #392                                             50        $0.62        $31.00
       BATTERY 1/3N                                             62        $0.99        $61.38
                                                                         TOTAL      $1,041.28
                             ITEM ID                         INVENTORY   COST     TOTAL
       BRACKET 392 MX                                             83      $0.50        $41.50
       BRACKET FMV                                               218      $0.50       $109.00
       BRACKET MINI MX                                           16       $0.50         $8.00
       BRACKET MINI FMV                                           24      $0.50        $12.00
       BRACKET 1/3N MX                                            68      $0.50        $34.00
       BRACKET DMV CENTER CONTACT                                23       $1.12        $25.76
       BRACKET DMV                                                 4      $1.66         $6.64
       BRASS STRIP .100                                           12      $2.95        $35.40
       BRASS STRIP .125                                          221      $0.50       $110.50
       CABLE - BNC-BNC (4')                                        5      $9.89        $49.45
       CABLE - BNC-BNC (10')                                       2      $8.90        $17.80
       CABLE - BNC-SMA (4')                                        1     $10.80        $10.80
       CABLE - SMA-BNC M/M 0.5'                                   4      $12.95        $51.80
       CABLE - SMA-SMA M/M 4'                                            $13.73         $0.00
       CABLE - SMA-SMA M/M 6"                                    2       $21.35        $42.70
       CABLE - SMA-SMA M/M 12"                                   2       $11.50        $23.00
       CABLE - SMA-SMB                                           2       $20.36        $40.72
       CABLE - MICRO USB TO USB                                          $26.00         $0.00
       CABLE - MINI USB TO USB                                  22        $5.55       $122.10
       CAP CERAMIC = .015UF_0402                                 2        $3.66         $7.32
       CAP CERAMIC = .033UF_0402                                375       $0.20        $75.00
       CAP CERAMIC = 0.01UF_0402                                103       $0.02         $2.06
       CAP CERAMIC = 0.01UF_0603                                554       $0.03        $16.62
       CAP CERAMIC = 0.022UF_0402                                53       $0.01         $0.53
       CAP CERAMIC = 0.039UF_0402                               262       $0.02         $5.24
       CAP CERAMIC = 0.056UF_0402                               275       $0.33        $90.75
       CAP CERAMIC = 0.056UF_0603                                30       $0.42        $12.60
       CAP CERAMIC = 0.1UF_0402                                  40       $0.24         $9.60
       CAP CERAMIC = 0.1UF_0402_50V                             325       $0.10        $32.50
                                                                         TOTAL        $993.39
                            ITEM ID                          INVENTORY   COST     TOTAL
       CAP CERAMIC = 1.0UF_0402_TANT                             420      $0.02         $8.40
       CAP CERAMIC = 1.0UF_0603                                   84      $0.61        $51.24
       CAP CERAMIC = 1.0PF_0402                                   24      $0.02         $0.48
       CAP CERAMIC = 1.2PF_0402                                  275      $0.01         $2.75
       CAP CERAMIC = 1.5PF_0402                                  333      $0.01         $3.33
       CAP CERAMIC = 1.8PF_0402                                  402      $0.02         $8.04
       CAP CERAMIC = 1000PF_0402                                 840      $0.01         $8.40
       CAP CERAMIC = 100PF_0603                                  708      $0.01         $7.08
       CAP CERAMIC = 10UF_0402                                   305      $0.02         $6.10
       CAP CERAMIC = 10UF_0603                                   100      $0.58        $58.00
       CAP CERAMIC = 10UF_0805                                    56      $0.02         $1.12
       CAP CERAMIC = 120PF_0402                                  138      $1.53       $211.14
       CAP CERAMIC = 12PF_0603                                    9       $0.10         $0.90
       CAP CERAMIC = 13PF_0402_HQ                                 11      $0.21         $2.31
       CAP CERAMIC = 1500PF_0402                                 298      $0.10        $29.80


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       CAP CERAMIC = 15PF_0402                                   155       $0.02        $3.10
       CAP CERAMIC = 16PF_0402                                   198       $0.01        $1.98
       CAP CERAMIC = 16PF_0402_HQ                                 12       $0.01        $0.12
       CAP CERAMIC = 1800PF_0402                                  22       $0.21        $4.62
       CAP CERAMIC = 180PF_0402                                  180       $0.02        $3.60
       CAP CERAMIC = 18PF_0402                                   130       $0.02        $2.60
       CAP CERAMIC = 1UF_0603_TANT                               225       $0.10       $22.50
       CAP CERAMIC = 2.2PF_0402                                   24       $0.74       $17.76
       CAP CERAMIC = 2.2PF_0603                                  540       $0.03       $16.20
       CAP CERAMIC = 2.2UF_0402_10V                               39       $0.02        $0.78
       CAP CERAMIC = 2.4PF_0402                                   75       $0.21       $15.75
       CAP CERAMIC = 200PF_0402                                   25       $0.02        $0.50
       CAP CERAMIC = 20PF_0402                                   125       $0.02        $2.50
       CAP CERAMIC = 2200PF_0402                                  60       $0.02        $1.20
       CAP CERAMIC = 220PF_0402                                  109       $0.02        $2.18
       CAP CERAMIC = 22PF_0402                                   500       $0.01        $5.00
       CAP CERAMIC = 22UF_0603                                   339       $0.01        $3.39
       CAP CERAMIC = 22UF_0805                                   378       $0.21       $79.38
       CAP CERAMIC = 22UF_1206                                    60       $0.24       $14.40
       CAP CERAMIC = 27PF_0402                                    20       $0.21        $4.20
       CAP CERAMIC = 3.6PF_0402                                  198       $0.01        $1.98
       CAP CERAMIC = 3000PF_0603                                 248       $0.04        $9.92
       CAP CERAMIC = 330PF_0402                                   20       $0.10        $2.00
       CAP CERAMIC = 33PF_0402                                   200       $0.02        $4.00
       CAP CERAMIC = 3900PF_0402                                 120       $0.04        $4.80
       CAP CERAMIC = 39PF_0402                                    75       $0.10        $7.50
       CAP CERAMIC = 3PF_0402                                    160       $0.10       $16.00
       CAP CERAMIC = 4.3PF_0402                                  508       $0.04       $20.32
       CAP CERAMIC = 4.7PF_0402                                   75       $0.10        $7.50
       CAP CERAMIC = 4.7UF_0402                                  210       $0.01        $2.10
       CAP CERAMIC = 4.7UF_0402_6.3V                              95       $0.15       $14.25
       CAP CERAMIC = 470PF_0402                                   99       $0.15       $14.85
       CAP CERAMIC = 470PF_0603                                   56       $0.02        $1.12
       CAP CERAMIC = 47PF_0402                                             $0.21        $0.00
       CAP CERAMIC = 47UF_0603_TANT                               99       $0.02        $1.98
       CAP CERAMIC = 47UF_0805                                   145       $0.68       $98.60
       CAP CERAMIC = 47UF_1206_25V                               240       $0.30       $72.00
       CAP CERAMIC = 5.0PF_0402                                   32       $0.71       $22.72
       CAP CERAMIC = 5.1PF_0402                                   96       $0.10        $9.60
       CAP CERAMIC = 5.6PF_0402                                  598       $0.01        $5.98
                                                                          TOTAL       $918.07
                            ITEM ID                           INVENTORY   COST     TOTAL
       CAP CERAMIC = 56PF_0402                                    273      $0.01        $2.73
       CAP CERAMIC = 6.8PF_0402                                    74      $0.01        $0.74
       CAP CERAMIC = 6800PF_0402                                   64      $0.02        $1.28
       CAP CERAMIC = 680PF_0402                                    62      $0.02        $1.24
       CAP CERAMIC = 68PF_0402                                    158      $0.02        $3.16
       CAP CERAMIC = 7.5PF_0402                                   190      $0.04        $7.60
       CAP CERAMIC = 7.6PF_0402                                   259      $0.02        $5.18
       CAP CERAMIC = 8.2PF_0402                                   123      $0.03        $3.69
       CAP CERAMIC = 8.2PF_0402_HQ                                100      $0.15       $15.00
       CAP CERAMIC = 8200PF_0402                                  102      $0.02        $2.04
       CRYSTAL SMD = 12.8MHZ CRYSTAL SMD                           20      $1.79       $35.80
       CRYSTAL SMD = 10MHZ TCXO CRYSTAL SMD                        8      $10.00       $80.00
       CRYSTAL SMD = 19.2MHZ TCXO CRYSTAL SMD                     25       $2.43       $60.75
       DIODE BAS16FSCT                                            122      $0.11       $13.42
       DIODE MA 3X70400                                           175      $0.26       $45.50
       DIODE-SCHOTTKY                                              28      $0.30        $8.40
       FEATHER MOUNT                                                9      $3.50       $31.50
       HAT - MERLIN SYSTEMS                                         4     $21.50       $86.00
       HEAT SHRINK-TOTAL FOOTAGE                                  483      $0.25      $120.75
       HOUSING CONDOR/WITH NUT                                     21     $23.99      $503.79
       INDUCTOR = 100NH_0402                                      172      $1.04      $178.88
       INDUCTOR = 100NH_2PCT_0402                                 189      $1.04      $196.56


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                                                                           TOTAL      $1,404.01
                             ITEM ID                           INVENTORY   COST     TOTAL
       INDUCTOR = 10NH_2PCT_0402                                    68      $1.04        $70.72
       INDUCTOR = 150NH_2PCT_0402                                  425      $1.04       $442.00
       INDUCTOR = 15NH_2PCT_0402                                    26      $1.04        $27.04
       INDUCTOR = 180NH_0805                                        65      $0.79        $51.35
       INDUCTOR = 180NH_2PCT_0402                                  194      $1.04       $201.76
       INDUCTOR = 22NH_2PCT_0402                                    95      $1.04        $98.80
       INDUCTOR = 27NH_0805                                         11      $0.79         $8.69
       INDUCTOR = 3.9NH_0805                                        16      $0.79        $12.64
       INDUCTOR = 330NH_0402                                       188      $1.04       $195.52
       INDUCTOR = 39NH_0402                                        251      $1.04       $261.04
       INDUCTOR = 4.3NH_0402                                       102      $1.04       $106.08
       INDUCTOR = 470NH_0402                                        92      $1.04        $95.68
       INDUCTOR = 56NH_2PCT_0402                                    47      $1.04        $48.88
       INDUCTOR = 6.8NH_0603                                         8      $0.79         $6.32
       INTEG CIRC = 16 BIT MCU SMD                                  25      $3.36        $84.00
       INTEG CIRC = VOLTAGE REGULATOR SMD 3.3V                     50       $2.42      $121.00
       INTEG CIRC = BUCK BOOST REGULATOR SMD                        25     $12.95      $323.75
                                                                           TOTAL      $2,155.27
                             ITEM ID                           INVENTORY   COST     TOTAL
       INTEG CIRC = 16 BIT MCU SMD QFN32                           75       $4.08      $306.00
       INTEG CIRC = AMPLIFIER 4 PIN SMD                            40       $2.58       $103.20
       INTEG CIRC = 8 BIT MCU SMD                                   8       $4.34        $34.72
       INTEG CIRC = PIC MCU SMD                                    100      $0.45        $45.00
       INTEG CIRC = RF TX ASK SMD                                  18       $4.03        $72.54
                                                                           TOTAL        $561.46
                             ITEM ID                           INVENTORY   COST     TOTAL
       LOADED PCA = 8040 SMART CHARGER                             14       $6.32        $88.48
       LOADED PCA = 9195-B2--KIMCO                                 23      $13.69      $314.87
       LOADED PCA = 9228 NANO                                        3     $17.99        $53.97
       LOADED PCA = 9229 MX-SYN SOLAR                                2     $54.71      $109.42
       LOADED PCA = MICRO USB BREAKOUT                              90      $0.21        $18.90
       MAGNET KEYCHAIN                                              12      $6.50        $78.00
       MAGNET 1/4 X 1/16                                            75      $0.13         $9.75
       MAGNET 3/8 X 1/8                                             40      $0.25        $10.00
       NANO HOUSING                                                  8     $14.99       $119.92
       NANO JACK SNAP                                             1098      $0.75       $823.50
       NANO TAILMOUNT SPRING                                       980      $1.00      $980.00
       NANO DOME BATTERY CONNECTOR                                 172      $0.22        $38.53
       OSCILLATOR TXCO - PROGRAMMABLE                              112      $1.18      $132.16
       OSCILLATOR NJU-MX BOARD                                    2830      $0.31       $877.30
       PIC MX PIC10F200T-1                                         156      $0.85       $132.60
       RESISTOR = 0_0402                                           197      $0.01         $1.97
       RESISTOR = 0_0603                                           239      $0.01         $2.39
       RESISTOR = 0_0805                                            25      $0.10         $2.50
       RESISTOR = 1.0K_0402                                         95      $0.10         $9.50
       RESISTOR = 1.0K_0603                                         97      $0.02         $1.94
       RESISTOR = 1.1K_0402                                        572      $0.02        $11.44
       RESISTOR = 1.24M_1PCT_0402                                  180      $0.02         $3.60
       RESISTOR = 1.5M_0402                                        162      $0.02         $3.24
       RESISTOR = 100K_0402                                        810      $0.02        $16.20
       RESISTOR = 100K_0603                                         10      $0.10         $1.00
                                                                           TOTAL      $3,841.18
                              ITEM ID                          INVENTORY   COST     TOTAL
       RESISTOR = 100R_0402                                        100      $0.10        $10.00
       RESISTOR = 10K_0402                                         300      $0.02         $6.00
       RESISTOR = 10K_0603                                         245      $0.02         $4.90
       RESISTOR = 10M_0402                                         497      $0.04        $19.88
       RESISTOR = 18K_0402                                         405      $0.04        $16.20
       RESISTOR = 1M_0402                                           97      $0.01         $0.97
       RESISTOR = 2.0K_0402                                        226      $0.04         $9.04
       RESISTOR = 2.0K_0603                                        165      $0.07        $11.55
       RESISTOR = 2.2K_0402                                         56      $0.04         $2.24


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                                              Inventory List
                                            December 31, 2019


       RESISTOR = 2.5M_1PCT_0603                                    55       $0.08          $4.40
       RESISTOR = 2M_0402                                          205       $0.08         $16.40
       RESISTOR = 220K_0603                                        500       $0.04         $20.00
       RESISTOR = 24R_0402                                          75       $0.04          $3.00
       RESISTOR = 3.3M_0402                                        165       $0.08         $13.20
       RESISTOR = 3.3M_1PCT_0402                                   350       $0.08         $28.00
       RESISTOR = 3.6K_0402                                         3        $0.02          $0.06
       RESISTOR = 300R_0402                                        115       $0.02          $2.30
       RESISTOR = 30M_0402                                         530       $0.02         $10.60
       RESISTOR = 30R_0402                                          79       $0.01          $0.79
       RESISTOR = 33K_0402                                         114       $0.01          $1.14
       RESISTOR = 390K_1PCT_0402                                   287       $0.02          $5.74
       RESISTOR = 4.7K_0402                                        775       $0.04         $31.00
       RESISTOR = 4.99K_1PCT_0402                                  181       $0.06         $10.86
       RESISTOR = 43K_0402                                         368       $0.01          $3.68
       RESISTOR = 470K_0402                                        144       $0.02          $2.88
       RESISTOR = 47K_0402                                          47       $0.01          $0.47
       RESISTOR = 49.9K_1PCT_0402                                  188       $0.02          $3.76
                                                                            TOTAL         $239.06
                            ITEM ID                             INVENTORY    COST     TOTAL
       RESISTOR = 6.65K_1PCT_0402                                    75      $0.10          $7.50
       RESISTOR = 6.8K_0402                                         410      $0.02          $8.20
       SOLAR CELL                                                    26      $3.05         $79.30
       SWITCH MAGNETIC REED (MICRO GLASS)                           36       $2.86       $102.96
       SWITCH MAGNETIC REED (PLASTIC ENCASED)                       130      $2.20       $286.00
       SWITCH (MICRO TILT)                                           43      $4.58        $196.94
       TAILSPRING LARGE                                               5      $1.80          $9.00
       TAILSPRING MEDIUM                                             5       $1.80          $9.00
       TAILSPRING MICRO                                              1       $5.00          $5.00
       TRANS--ALL MX                                                  5     $165.00       $825.00
       TRANS--ALL NANO                                                1     $185.00       $185.00
       TRANSISTOR MMBT3906                                          787      $0.04         $31.48
       TRANSISTOR MOSFET                                            127      $0.62         $78.74
       TRANSISTOR NE5550234-AZ                                      390      $1.63       $635.70
       WASP 550MAH BATTERY                                           3       $4.72         $14.16
       WASP BATTERY ADAPTER HOUSING                                  11     $13.50       $148.50
       WASP BATTERY HOUSING SCREW                                   168      $0.22         $36.96
       WASP BATT TO TX CAPTIVE SCREW                                 23      $3.54         $81.42
       WASP CAPTIVE SCREW RETAIN. RINGS                              18      $0.40          $7.20
       WIRE--TOTAL FOOTAGE                                          750      $0.25        $187.50
                                                                            TOTAL       $2,935.56

                                                                 GRAND      TOTAL      $14,089.28




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8008 CR CARD                    LOADED PCA = 8008 CR CARD                          $32.57   #REF!                   LOADED PCA - CREDIT CARD
8012A - DW3000 FEB              LOADED PCA = 8012A - DW3000 FEB                    $36.70   #REF!                   LOADED PCA - DW3000 F.E.B.
8012B-REV C - DW3000 MAIN       LOADED PCA = 8012B-REV C - DW3000 MAIN            $159.61   #REF!                LOADED PCA - DW3000 MAIN BOARD
8015 TINY TX                    LOADED PCA = 8015 TINY TX                          $37.02   #REF!                    LOADED PCA - MINI DF LSR
8016 FLAT ANTENNA               LOADED PCA = 8016 FLAT ANTENNA                     $58.19   #REF!                   LOADED PCA - VK100 RELAY
8018 VK100 RELAY                LOADED PCA = 8018 VK100 RELAY                      $55.40   #REF!             LOADED PCA - HIGH POWER CONTROLLER
8020 VK100 CONTROLLER           LOADED PCA = 8020 VK100 CONTROLLER                  $1.28   #REF!           LOADED PCA - DW3000 WIRED AAA BAT BOARD
8022 DW3000 WIRED BAT BOARD     LOADED PCA = 8022 DW3000 WIRED BAT BOARD            $1.22   #REF!           LOADED PCA - DW3000 DUMMY AAA BAT BOARD
8023 DW3000 BAT BOARD           LOADED PCA = 8023 DW3000 BAT BOARD                  $2.00   #REF!               LOADED PCA - CELL PHONE ADAPTER
8025 RCM                        LOADED PCA = 8025 RCM                             $179.98   #REF!                       LOADED PCA - LYNX
8026 CELL PHONE ADAPTER         LOADED PCA = 8026 CELL PHONE ADAPTER              $161.07   #REF!                       LOADED PCA - WASP
8027 LYNX                       LOADED PCA = 8027 LYNX                             $64.45   #REF!                      LOADED PCA - EXP CC
8028 WASP                       LOADED PCA = 8028 WASP                            $104.37           $0.00             LOADED PCA - HORNET
8029 EXP CC                     LOADED PCA = 8029 EXP CC                            $6.89   #REF!                    LOADED PCA - TX TESTER
8030 NBFM CARRIER               LOADED PCA = 8030 NBFM CARRIER                      $9.16   #REF!                         LOADED PCA - MX
8031 LYNX WIRED BAT BOARD       LOADED PCA = 8031 LYNX WIRED BAT BOARD             $28.19   #REF!                    LOADED PCA - APLOMATO
8032 LYNX BAT BOARD             LOADED PCA = 8032 LYNX BAT BOARD                    $7.97   #REF!                        LOADED PCA - DMV
8033 CC BAT ADAPTER             LOADED PCA = 8033 CC BAT ADAPTER                    $6.71   #REF!                        LOADED PCA - FMV
8034 WASP LARGE BAT BOARD       LOADED PCA = 8034 WASP LARGE BAT BOARD              $0.21   #REF!                        MICRO USB BOARD
8035 HORNET                     LOADED PCA = 8035 HORNET
8036 HP-HORNET                  LOADED PCA = 8036 HP-HORNET
8037 WASP REINFORCEMENT PCB     LOADED PCA = 8037 WASP REINFORCEMENT PCB
8038 WASP MEDIUM BAT BOARD      LOADED PCA = 8038 WASP MEDIUM BAT BOARD
8039 WASP SMALL BAT BOARD       LOADED PCA = 8039 WASP SMALL BAT BOARD
8040 SMART CHARGER              LOADED PCA = 8040 SMART CHARGER
9116 FMV                        LOADED PCA = 9116 FMV
9183 DMV                        LOADED PCA = 9183 DMV
9190 TX TESTER                  LOADED PCA = 9190 TX TESTER
9195-B2--KIMCO                  LOADED PCA = 9195-B2--KIMCO
9228 NANO                       LOADED PCA = 9228 NANO
9229 MX-SYN SOLAR               LOADED PCA = 9229 MX-SYN SOLAR
MICRO USB BREAKOUT              LOADED PCA = MICRO USB BREAKOUT




   LOADED PCA LIST
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PANEL 7001 EPEC (49)   $111.72   $0.00                     BARE PANEL                  8008 CR CARD                  BARE PANEL = 8008 CR CARD
PANEL 7004A CIRC GR    $80.00    $0.00                     BARE PANEL                  8012A - DW3000 FEB            BARE PANEL = 8012A - DW3000 FEB
PANEL 8005 RFB         $12.50    $0.00                     BARE PANEL                  8012B-REV C - DW3000 MAIN     BARE PANEL = 8012B-REV C - DW3000 MAIN
PANEL 8007 EPEC        $215.00   $0.00                 NBFM - BARE PANEL               8015 TINY TX                  BARE PANEL = 8015 TINY TX
PANEL 8008 EPEC         $2.34    $0.00                   BARE PANEL - CC               8016 FLAT ANTENNA             BARE PANEL = 8016 FLAT ANTENNA
PANEL 8012A EPEC        $3.67    $0.00             BARE PANEL - DW3000 F.E.B.          8018 VK100 RELAY              BARE PANEL = 8018 VK100 RELAY
PANEL 8012B EPEC       $240.00   $0.00          BARE PANEL - DW3000 MAIN BOARD         8020 VK100 CONTROLLER         BARE PANEL = 8020 VK100 CONTROLLER
PANEL 8015 EPEC        $55.74    $0.00              BARE PANEL - MINI DF LSR           8022 DW3000 WIRED BAT BOARD   BARE PANEL = 8022 DW3000 WIRED BAT BOARD
PANEL 8016 EPEC        $10.63    $0.00                 BARE FLAT ANTENNA               8023 DW3000 BAT BOARD         BARE PANEL = 8023 DW3000 BAT BOARD
PANEL 8018 EPEC         $1.70    $0.00                  VK100 BARE PANEL               8025 RCM                      BARE PANEL = 8025 RCM
PANEL 8020 EPEC         $4.29    $0.00      BARE PANEL - HIGH POWER CONTROLLER         8026 CELL PHONE ADAPTER       BARE PANEL = 8026 CELL PHONE ADAPTER
PANEL 8021 EPEC        $12.40    $0.00            BARE PANEL - SSB ADV. MOD.           8027 LYNX                     BARE PANEL = 8027 LYNX
PANEL 8022 EPEC         $1.54    $0.00     BARE PANEL - DW3000 WIRED AAA BAT BOARD     8028 WASP                     BARE PANEL = 8028 WASP
PANEL 8023 EPEC         $1.47    $0.00   BARE PANEL - DW3000 NON-WIRED AAA BAT BOARD   8029 EXP CC                   BARE PANEL = 8029 EXP CC
PANEL 8025 EPEC         $2.64    $0.00             BARE PANEL - RCM SWITCH             8030 NBFM CARRIER             BARE PANEL = 8030 NBFM CARRIER
PANEL 8026 EPEC         $2.19    $0.00         BARE PANEL - CELL PHONE ADAPTER         8031 LYNX WIRED BAT BOARD     BARE PANEL = 8031 LYNX WIRED BAT BOARD
PANEL 8028 EPEC         $2.03    $0.00                 BARE PANEL - WASP               8032 LYNX BAT BOARD           BARE PANEL = 8032 LYNX BAT BOARD
PANEL 8029 EPEC         $3.50    $0.00                                                 8033 CC BAT ADAPTER           BARE PANEL = 8033 CC BAT ADAPTER
PANEL 9116 EPEC        $153.44   $0.00                BARE PANEL - FMV                 8034 WASP LARGE BAT BOARD     BARE PANEL = 8034 WASP LARGE BAT BOARD
PANEL 9183 EPEC        $54.88    $0.00                BARE PANEL - DMV                 8035 HORNET                   BARE PANEL = 8035 HORNET
PANEL 9195 EPEC        $153.00   $0.00                 BARE PANEL - MX                 8036 HP-HORNET                BARE PANEL = 8036 HP-HORNET
PANEL 9228 EPEC        $48.96    $0.00             BARE PANEL - NANO GOLD              8037 WASP REINFORCEMENT PCB   BARE PANEL = 8037 WASP REINFORCEMENT PCB
PANEL 9229 EPEC        $36.32    $0.00             BARE PANEL - NEW SOLAR              8038 WASP MEDIUM BAT BOARD    BARE PANEL = 8038 WASP MEDIUM BAT BOARD
                                                                                       8039 WASP SMALL BAT BOARD     BARE PANEL = 8039 WASP SMALL BAT BOARD
                                                                                       8040 SMART CHARGER            BARE PANEL = 8040 SMART CHARGER
                                                                                       9116 FMV                      BARE PANEL = 9116 FMV
                                                                                       9183 DMV                      BARE PANEL = 9183 DMV
        PANELS ON HAND                                                                 9190 TX TESTER
                                                                                       9195-B2--KIMCO
                                                                                                                     BARE PANEL = 9190 TX TESTER
                                                                                                                     BARE PANEL = 9195-B2--KIMCO
                                                                                       9228 NANO                     BARE PANEL = 9228 NANO
                                                                                       9229 MX-SYN SOLAR             BARE PANEL = 9229 MX-SYN SOLAR
                                                                                       MICRO USB BREAKOUT            BARE PANEL = MICRO USB BREAKOUT
          Case 23-00247-JMM                     Doc 1     Filed 05/12/23 Entered 05/12/23 15:50:49                              Desc Main
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Fill in this information to identify the case:

Debtor name       Merlin Systems, Inc

United States Bankruptcy Court for the:       DISTRICT OF IDAHO

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                           page 1 of 1
           Case 23-00247-JMM                        Doc 1       Filed 05/12/23 Entered 05/12/23 15:50:49                                         Desc Main
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Fill in this information to identify the case:

Debtor name        Merlin Systems, Inc

United States Bankruptcy Court for the:         DISTRICT OF IDAHO

Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                     $0.00      $0.00
          Idaho State Tax Commission                           Check all that apply.
          P.O. Box 36                                             Contingent
          800 Park Blvd                                           Unliquidated
          Boise, ID 83722                                         Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Listed for Notice Purposes Only
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.2       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                     $0.00      $0.00
          Internal Revenue Service                             Check all that apply.
          PO BOX 7346                                             Contingent
          Philadelphia, PA 19114                                  Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Listed for Notice Purposes Only
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 4
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Debtor      Merlin Systems, Inc                                                             Case number (if known)
            Name

3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $9,930.00
         Capital One Services, LLC                                    Contingent
         PO Box 30285                                                 Unliquidated
         Salt Lake City, UT 84130-0285                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Credit card purchases
         Last 4 digits of account number    5341
                                                                   Is the claim subject to offset?     No       Yes

3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $273.98
         Digi Key 940766                                              Contingent
         Accounts Receivable                                          Unliquidated
         PO Box 250                                                   Disputed
         Thief River Falls, MN 56701-0250
                                                                   Basis for the claim:    Business Expense
         Date(s) debt was incurred
         Last 4 digits of account number    4392                   Is the claim subject to offset?     No       Yes


3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         EVO Payments/EVO Merchant                                    Contingent
         c/oFederated Payment Systems                                 Unliquidated
         4455 LBJ Freeway, 11th Floor                                 Disputed
         Dallas, TX 75244
                                                                   Basis for the claim:    Business Expense - credit card processing system
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $595.01
         Mouser Electronics                                           Contingent
         PO Box 99319                                                 Unliquidated
         Fort Worth, TX 76199                                         Disputed
         Date(s) debt was incurred   2022                          Basis for the claim:    Business Expense
         Last 4 digits of account number    2423
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $86.88
         Nexcess                                                      Contingent
         21700 Melrose Ave                                            Unliquidated
         Southfield, MI 48075                                         Disputed
         Date(s) debt was incurred   2022                          Basis for the claim:    Business expense - website
         Last 4 digits of account number    8787
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,495.00
         Northwest Swiss                                              Contingent
         P.O. Box 1178                                                Unliquidated
         Hayden, ID 83835                                             Disputed
         Date(s) debt was incurred   2022                          Basis for the claim:    Business Expense
         Last 4 digits of account number    2027
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Sucuri                                                       Contingent
         6060 Center Dr                                               Unliquidated
         Suite 500                                                    Disputed
         Los Angeles, CA 90045
                                                                   Basis for the claim:    Business Expense - internet security
         Date(s) debt was incurred 2022-2023
         Last 4 digits of account number Merlin                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 2 of 4
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Debtor       Merlin Systems, Inc                                                                    Case number (if known)
             Name

3.8       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $640.01
          Sundance Investments                                                Contingent
          3405 E. Overland Rd                                                 Unliquidated
          Suite 150                                                           Disputed
          Meridian, ID 83642
                                                                           Basis for the claim:    Past rent
          Date(s) debt was incurred 2023
          Last 4 digits of account number   Merlin                         Is the claim subject to offset?         No     Yes


3.9       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          US Bancorp                                                          Contingent
          Attn: Bankruptcy                                                    Unliquidated
          800 Nicollet Mall                                                   Disputed
          Minneapolis, MN 55402
                                                                           Basis for the claim:    Credit card purchases
          Date(s) debt was incurred
          Last 4 digits of account number   8660                           Is the claim subject to offset?         No     Yes


3.10      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          US Bank                                                             Contingent
          Cardmember Services                                                 Unliquidated
          PO Box 6353                                                         Disputed
          Fargo, ND 58125
                                                                           Basis for the claim:    Credit card purchases
          Date(s) debt was incurred
          Last 4 digits of account number   8142                           Is the claim subject to offset?         No     Yes


3.11      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $63,963.10
          US Bank                                                             Contingent
          PO Box 2188                                                         Unliquidated
          Oshkosh, WI 54903-2188                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Business Expense - Loan
          Last 4 digits of account number   2929
                                                                           Is the claim subject to offset?         No     Yes

3.12      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $49,391.95
          US Bank                                                             Contingent
          PO Box 790408                                                       Unliquidated
          Saint Louis, MO 63179-0408                                          Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Credit card purchases
          Last 4 digits of account number   2300
                                                                           Is the claim subject to offset?         No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       Capital One Retail Services
          PO Box 60519                                                                              Line     3.1
          City of Industry, CA 91716-0504
                                                                                                           Not listed. Explain


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                                           5a.          $                           0.00
5b. Total claims from Part 2                                                                           5b.    +     $                     126,375.93

Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 4
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            Name


5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                    5c.     $              126,375.93




Official Form 206 E/F                Schedule E/F: Creditors Who Have Unsecured Claims                         Page 4 of 4
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Fill in this information to identify the case:

Debtor name       Merlin Systems, Inc

United States Bankruptcy Court for the:     DISTRICT OF IDAHO

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Lease for current
           lease is for and the nature of        business location
           the debtor's interest

               State the term remaining          1 year
                                                                                    Sundance Investments
           List the contract number of any                                          3405 E. Overland Road
                 government contract                                                Meridian, ID 83642




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Merlin Systems, Inc

United States Bankruptcy Court for the:   DISTRICT OF IDAHO

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:
   2.1                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.2                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.3                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.4                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Merlin Systems, Inc

United States Bankruptcy Court for the:    DISTRICT OF IDAHO

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                                 $17,193.50
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                                 $67,047.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                               $125,944.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




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Debtor       Merlin Systems, Inc                                                                Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
              US Bank                                              Each month -                       $3,240.00               Secured debt
              PO Box 790408                                        $1080                                                      Unsecured loan repayments
              Saint Louis, MO 63179-0408
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other


      3.2.
              US Bank                                              Each month -                       $4,783.62               Secured debt
              PO Box 2188                                          $1594.54                                                   Unsecured loan repayments
              Oshkosh, WI 54903-2188
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                  Status of case
              Case number                                                          address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None



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Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

               Recipient's name and address            Description of the gifts or contributions                  Dates given                           Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received             If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Law Office of D. Blair Clark,
                PC
                967 E. Parkcenter Blvd., #282
                Boise, ID 83706                          Attorney & Filing Fees                                        May 2023                   $2,000.00

                Email or website address
                dbc@dbclarklaw.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.



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             Who received transfer?                    Description of property transferred or                     Date transfer            Total amount or
             Address                                   payments received or debts paid in exchange                was made                          value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and           Last 4 digits of            Type of account or          Date account was               Last balance
              Address                                  account number              instrument                  closed, sold,              before closing or
                                                                                                               moved, or                           transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents             Does debtor
                                                             access to it                                                                  still have it?
                                                             Address

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20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
      Stor-it Self Storage                                   Ed Levine                             See attached list                              No
      600 N. Maple Grove Road                                Jim Hatchett                                                                         Yes
      Boise, ID 83704



Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.
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         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Olsen Wheeler CPAs                                                                                                 Each month for
                    3509 W Bavaria Street                                                                                              bookkeeping
                    Suite 101                                                                                                          Each year for taxes
                    Eagle, ID 83616

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Debtor
                    Attn: Ed Levine
                    42479 SE Buzz Road
                    Estacada, OR 97023

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory
      27.1 Ed Levine
      .                                                                             May 3, 2023              Unknown exact amount of items

               Name and address of the person who has possession of
               inventory records
               Debtor



28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.



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      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Ed Levine                              42479 SE Buzz Road                                  President & Shareholder                 26% owner
                                             Estacada, OR 97023

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Gene Henke                                                                                 Shareholder                             23% owner


      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      James & Patricia Hatchett                                                                  Shareholders                            26% owners


      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Gans & Pugh Associates,                                                                    Class B Shareholder                     25% owner
      Inc                                                                                        (non-voting)



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




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Debtor      Merlin Systems, Inc                                                                 Case number (if known)



Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         May 11, 2023

/s/ Ed Levine                                                   Ed Levine
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 8
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STORE-IT SPACE = X9                      MERLIN SYSTEMS,
                                      Document           INC.
                                                   Page 44 of 48                     MAY 3 2023
Maple Grove Boise, ID                 INVENTORY STORAGE SPACE
                             ITEM                                QUANTITY
Large Long Work Desk with Multiple Metal Drawers                    1
Work Table                                                          1
Large Anti-Static Electronice Work Bench with Top Shelf             2
Large Metal Cabinet with sliding storage drawers                    1
New medium boxes for mailing                                       200
Medium Plastic Bins for Electronic Parts                            35
Rolling Cart                                                        1
Dell Monitors                                                       2
Toaster Oven                                                        1
Many Miscellanous Spare Electronic parts, Loaded PCB's etc
Metal Shelving                                                      1
Large work lights for the anti-static work benches                  2
Small Electonic Drawers in standalone bins                          5
Printer                                                             1
Hanging green folders                                              250
Farnell Impedence Network                                           1
Digi Max 1.2 GHZ                                                    1
Chair                                                               1
Keyboard                                                            1
Old Laptop Computer                                                 1
Standing File Foder Rack Open                                       1
Achiever Shredder                                                   1
Soldering Irons                                                     3
P-Touch Lable                                                       1
Lynksys Router
Numerous power cords and extension cords
Many previous generation tracking antenns                          30?
Old obsolete Tracking Receivers                                    50?
New Larger Boxes                                                   75
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                                               United States Bankruptcy Court
                                                             District of Idaho
 In re   Merlin Systems, Inc                                                                      Case No.
                                                                     Debtor(s)                    Chapter      7




                                   VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     May 11, 2023                                   /s/ Ed Levine
                                                         Ed Levine/President
                                                         Signer/Title
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                        Capital One Retail Services
                        PO Box 60519
                        City of Industry, CA 91716-0504



                        Capital One Services, LLC
                        PO Box 30285
                        Salt Lake City, UT 84130-0285



                        Digi Key 940766
                        Accounts Receivable
                        PO Box 250
                        Thief River Falls, MN 56701-0250



                        EVO Payments/EVO Merchant
                        c/oFederated Payment Systems
                        4455 LBJ Freeway, 11th Floor
                        Dallas, TX 75244



                        Idaho State Tax Commission
                        P.O. Box 36
                        800 Park Blvd
                        Boise, ID 83722



                        Internal Revenue Service
                        PO BOX 7346
                        Philadelphia, PA 19114



                        Mouser Electronics
                        PO Box 99319
                        Fort Worth, TX 76199



                        Nexcess
                        21700 Melrose Ave
                        Southfield, MI 48075



                        Northwest Swiss
                        P.O. Box 1178
                        Hayden, ID 83835
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                    Sucuri
                    6060 Center Dr
                    Suite 500
                    Los Angeles, CA 90045



                    Sundance Investments
                    3405 E. Overland Rd
                    Suite 150
                    Meridian, ID 83642



                    Sundance Investments
                    3405 E. Overland Road
                    Meridian, ID 83642



                    US Bancorp
                    Attn: Bankruptcy
                    800 Nicollet Mall
                    Minneapolis, MN 55402



                    US Bank
                    Cardmember Services
                    PO Box 6353
                    Fargo, ND 58125



                    US Bank
                    PO Box 2188
                    Oshkosh, WI 54903-2188



                    US Bank
                    PO Box 790408
                    Saint Louis, MO 63179-0408
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                                        United States Bankruptcy Court
                                                    District of Idaho
 In re   Merlin Systems, Inc                                                        Case No.
                                                            Debtor(s)               Chapter    7




                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Merlin Systems, Inc in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Ed Levine
42479 SE Buzz Road
Estacada, OR 97023
Gans & Pugh

Gene Henke

Jim Hatchett




  None [Check if applicable]




May 11, 2023                                   /s/ D. Blair Clark
Date                                           D. Blair Clark 1367
                                               Signature of Attorney or Litigant
                                               Counsel for Merlin Systems, Inc
                                               Law Office of D. Blair Clark, PC
                                               967 E. Parkcenter Blvd., #282
                                               Boise, ID 83706
                                               (208) 475-2050 Fax:(208) 475-2055
                                               dbc@dbclarklaw.com
